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                        United States Court of Appeals
                                         For the First Circuit
                                             ____________________

                                      NOTICE OF APPEARANCE

    No. 23-1771                   Short Title: US v. Freeman

          The Clerk will enter my appearance as counsel on behalf of (please list names of all parties
   represented, using additional sheet(s) if necessary):
   Ian Freeman                                                                                  as the
    [ ] appellant(s)                     [✔] appellee(s)                      [ ] amicus curiae
    [ ] petitioner(s)                    [ ] respondent(s)                    [ ] intervenor(s)


                                                           10/5/2023
    Signature                                              Date
    Richard Guerriero
    Name

    Lothstein Guerriero, PLLC                              603-352-5000
    Firm Name (if applicable)                              Telephone Number

    39 Central Square                                      603-218-6503
    Address                                                Fax Number

    Keene, NH 03431                                        richard@nhdefender.com
    City, State, Zip Code                                  Email (required)
    Court of Appeals Bar Number: 1164673


    Has this case or any related case previously been on appeal?
    [ ✔] No            [ ] Yes Court of Appeals No.
   =========================================================================
        Attorneys for both appellant and appellee must file a notice of appearance within 14 days of case
   opening. New or additional counsel may enter an appearance outside the 14 day period; however, a notice of
   appearance may not be filed after the appellee/respondent brief has been filed without leave of court. 1st Cir.
   R. 12.0(a).

        Counsel must complete and file this notice of appearance in order to file pleadings in this court.
   Counsel not yet admitted to practice before this court must promptly submit a bar application. 1st Cir. R.
   46.0(a)(2).
